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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ANTHONY MAYS, et al.,                           )       Case No. 20-CV-2134
                                                 )
                Plaintiffs,                      )
                                                 )       Hon. Matthew F. Kennelly,
 v.                                              )       in his capacity as Emergency
                                                 )       Judge
 THOMAS J. DART, Sheriff of Cook                 )
 County,                                         )
                                                 )       Hon. Robert W. Gettleman,
                Defendant.                       )       District Court Judge
                                                 )
                                                 )       Hon. M. David Weisman,
                                                 )
                                                         Magistrate Judge

                                  NOTICE OF APPEAL

        NOTICE IS HEREBY GIVEN that Defendant, Thomas J. Dart, Sheriff of Cook

County, in his official capacity, hereby appeals to the United States Court of Appeals,

Seventh Circuit, from the conditional certification of plaintiffs’ class on April 27, 2020

(Dkt. 73); corresponding preliminary injunction entered on April 27, 2020 (Dkt. 73; Dkt.

74); and all related orders.

                                                  By: /s/ Gretchen Harris Sperry
                                                  One of the attorneys for Defendant
                                                  Thomas J. Dart, Sheriff of Cook County
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on May 11, 2020, I electronically filed the forgoing
DEFENDANT’S NOTICE OF APPEAL with the Clerk of the U.S. District Court, using
the Court’s CM/ECF system, which will accomplish service electronically on all counsel
of record.


                                                /s/ Gretchen Harris Sperry
